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  8                             UNITED STATES DISTRICT COURT
  9                         SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    UNITED STATES OF AMERICA,                                 CASE NO. 96cr1826-IEG
                                                                 (related to 07cv984-IEG)
 12                                           Plaintiff,
               vs.                                               ORDER DENYING CERTIFICATE
 13                                                              OF APPEALABILITY
       RAFAEL AYALA-MENDEZ,
 14
                                           Defendant.
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             On June 5, 2007, this Court dismissed defendant Rafael Ayala-Mendez’s “Petition for
 17
      Consideration of Reduction Sentence under 18 U.S.C. § 3582(c)(2).” The Court found the motion
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      was properly construed as a motion to vacate or set aside the judgment and/or sentence pursuant to
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      28 U.S.C. § 2255, and determined Defendant must first get permission from the Ninth Circuit
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      Court of Appeals to file a second § 2255 motion. Defendant filed a notice of appeal. On
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      November 23, 2009, the Ninth Circuit Court of Appeals remanded this case for the limited purpose
 22
      of granting or denying a certificate of appealability.
 23
             If a defendant does not first receive authorization from the Court of Appeals to file a
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      second or successive motion under § 2255, the district court lacks jurisdiction to consider the
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      application. United States v. Lopez, 577 F.3d 1053, 1061 (9th Cir. 2009). Defendant has not
 26
      obtained an order from the Ninth Circuit granting him leave to file a second motion under § 2255.
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  1   Therefore, this Court has no jurisdiction to consider the merits of the issues raised by defendant’s
  2   motion. The Court DENIES a certificate of appealability.
  3          IT IS SO ORDERED.
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  5   DATED: November 24, 2009
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                                                      IRMA E. GONZALEZ, Chief Judge
  7                                                   United States District Court
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